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     UNITED STATES DISTRICT COURT                     limitations to bar consideration of a claim’s
     SOUTHERN DISTRICT OF GEORGIA                     merits). Id. at 532.
         STATE SBORO DIVISION

KYLE MICHAEL BREWER,                                     Opposing Brewer’s motion (doc. # 26), the
                                                      Government correctly pointed out that this
        Movant,                                       Court previously reached some of Brewer’s
                             696CR004
                                                      claims on the merits, see doc. # 2 at 5-6
v.                           600CV140
                                                      (ineffective assistance claim), when it denied
UNITED STATES OF AMERICA,                             Brewer's 1/29/00, § 2255 motion. Doc. # 5.
                                                      The Court therefore denied Brewer’s Rule
        Respondent.                                   60(b) motion (doc. # 25) and, construing it as a
                                                      successive § 2255 motion, dismissed it for lack
                      ORDER
                                                      of jurisdiction. 1 Doc. # 28.
   Following this Court’s judgment denying his
                                                         Brewer now F.R.Civ.P. 59(e)-moves for
28 U.S.C. § 2255 motion, 600CV140 doc. # 6,
                                                      reconsideration, contending that there was a
defendant Kyle Michael Brewer unsuccessfully
                                                      Gonzalez-level “defect” in the prior § 2255
appealed. Doc. # 16; see also doc. # 18, # 22
                                                      proceeding because the Court failed to reach all
(denying his motions to recall the judgment and
                                                      of his claims -- something the Eleventh Circuit
to recuse the undersigned). He later moved the
                                                      otherwise directs district courts to do. 2 Doc. #
Court, as some other defendants have done, see,
                                                      29.
e.g., U.S. v. Moss, 497CV108 doc. # 55
(S.D.Ga. Order entered 1/23/06) (unpublished),
to assert a Booker claim (see U.S. v. Booker,
543 U.S. 220 (2005)), in the event Booker later       1
                                                          As the Eleventh Circuit explained in a similar case:
became retroactive. Doc. # 23.
                                                                 [W]hen a person files an unauthorized
    The Court denied that, doc. # 24, and Brewer                or successive motion to vacate without
moved under F.R.Civ.P. 60(b)(6) for Relief                      having obtained the appropriate
                                                                authorization from the court of
from Final Judgment. Doc. # 25. He cited                        appeals, as in the instant case, the
Gonzalez v. Crosby, 545 U.S. 524 (2005). Id. at                 proper remedy is for the district court
2. In Gonzalez, a 28 U.S.C. § 2254 petitioner                   to dismiss the claims raised in the
filed a Rule 60(b) motion after the district court              motion. See 28 U.S.C. §
denied his § 2254 habeas petition as                            2244(b)(2)-(3). Here, the district
                                                                court, instead, summarily denied [the
time-barred. 545 U.S. at 527. The Supreme                       movant’s] Rule 60(b) motion.
Court addressed the circumstances when a Rule                   Accordingly, we affirm, but remand
60(b) motion should be considered a "second or                  for the limited purpose of allowing the
successive" habeas petition and therefore                       district court to modify its order to
                                                                reflect that [the movant’s] Rule 60(b)
subject to successive petition restrictions. Id. at
                                                                motion is dismissed for lack of
528, 538. It held that a Rule 60(b)(6) motion in                jurisdiction.
a § 2254 case must be treated as a successive
habeas petition if it asserts or reasserts a          El-Amin v. U.S., 172 Fed.Appx. 942, 946 (11th Cir.
substantive claim to set aside the petitioner's       2006); Wardlaw v. U.S., 2007 WL 2084091 at * 1
                                                      M.D.Ga. 7/17/07) (unpublished).
state conviction, as opposed to a defect in the
integrity of the federal habeas proceedings           2
                                                        See Blankenship v. Terry, 2007 WL 4404972 at * 4 n.
(e.g., a habeas court misapplied the statute of       13 (S.D.Ga. 12/13/07) (unpublished) (collecting cases
                                                      instructing district courts to reach all habeas claims).
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    The problem for Brewer, however, is that he        This 22 day of May, 2008.
is reaching back to a 2001 Judgment, see doc.
## 2, 6, and under his reasoning a § 2255
movant can wait for a half decade and then
move to “correct” judgments perceived to have
“missed” an issue or two -- all without              ____________________________________
hindrance from finality (limitations periods,        B. AVANT EDENFIELD, JUDGE
successiveness) rules/doctrines -- because such      UNITED STATES DISTRICT COURT
omission constitutes a Gonzalez defect.              SOUTHERN DISTRICT OF GEORGIA

   Of course, that violates the very concept of
finality that Congress and the appellate courts
have sought to advance with various limitations
periods, successiveness doctrines, etc. See
generally 39 AM. JUR. 2 D Habeas Corpus § 148
(Mar. 2008). For that matter, the Gonzalez
opinion was handed down in 2005 and nothing
prevented Brewer from raising his
“incompleteness” argument years ago. Too,
Brewer was free to challenge this Court’s 2001,
§ 2255 ruling on “incompleteness” grounds
when he appealed in 2001. In that the Eleventh
Circuit denied him relief, doc. # 16, the Law of
the Case doctrine now applies. Bazemore v.
U.S., 2007 WL 2376299 at * 2 (S.D.Ga.
8/15/07) (unpublished).

   That means that at most Brewer can now
seek relief directly from the Eleventh Circuit.
See, e.g., U.S. v. Eaton, 223 Fed.Appx. 798,
798-99 (10th Cir. 2007) (affirming dismissal of
F.R.Civ.P. 60(b)(4) motion, “filed by
Defendant ... challenging a perceived defect in
the integrity of the district court's June 2, 2006
Order,” because he failed to first obtain
authorization from the appellate court).

  Accordingly, defendant Kyle Michael
Brewer’s F.R.Civ.P. 5 9(e) motion (doc. # 29) is
DENIED.
